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'AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                      UNITED STATES DISTRICT COURT
                                                                    for the

                                                          Southern District of Georgia

                    United States of America                          )
                                v.                                    )
                                                                      ) Case No: CR407-00045-002
                      Sonoko Lee Stewart
                                                                      ) USMNo: 13070-021
Date of Previous Judgment: July 24, 2007                              ) Brian L. Daly
(Use Date of Last Amended Judgment if Applicable)                     ) Defendant's Attorney


                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of        the defendant      the Director of the Bureau of Prisons   the court under 1 8 U. S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
         DENIED.        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    thelast judgment issued) of _________________ months is reduced to __________________________

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                    31                            Amended Offense Level:      31
Criminal History Category:                 HI                            Criminal History Category:  III
Previous Guideline Range:               135 to 168 months                Amended Guideline Range: 135 to 168 months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
   The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
   Other (explain):




III ADDITIONAL COMMENTS The amendment to the crack cocaine guideline does not rest in a cnge to tle
defendant's advisory guideline range. in addition, the Court notes that the defendant has already bënefitte'
substantially by virtue of the U.S.S.G. § 5K1.1 motion filed in her case.

Except as provided above, all provisions of the judgment dated July 24, 2007,                            shall remain in effect.
IT IS SO ORDERED.

Order Date          March 13, 2008
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                                                                         B. Avant Edenfield
                                                                         United States District Judge
Effective Date:                                                          For the Southern District of Georgia
                     (if different from order date)                                            Printed name and title
